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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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        DEEPTHI WARRIER EDAKUNNI, et al.,                      CASE NO. 2:21-cv-00393-TL
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                                Plaintiffs,                    ORDER REQUIRING JOINT STATUS
12              v.                                             REPORT AND DIRECTING CLEAN-UP OF
                                                               FUTURE DOCKET ENTRIES
13      ALEJANDRO MAYORKAS, Secretary of
        the Department of Homeland Security,
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                                Defendant.
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            The Court DIRECTS the Parties in this reassigned case to submit a Joint Status Report that
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     sets forth the Parties' respective and/or collective positions on which plaintiffs, issues, and
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     motions still constitute live controversies over which the Court has jurisdiction. As part of this
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     report, the Parties shall specifically and concisely address: (1) how many and which plaintiffs
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     from the original and proposed amended complaints are still awaiting adjudication of their H-4
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     and L-2 extension of status applications; (2) whether the Court should strike the pending Motion
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     for Preliminary Injunction (Dkt. No. 16) as moot; (3) if applicable, significant factual or legal
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     ORDER REQUIRING JOINT STATUS REPORT AND DIRECTING CLEAN-UP OF FUTURE DOCKET
     ENTRIES - 1
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 1   developments that may impact any of the pending motions; and (4) the current status of each

 2   case about which the Court ordered supplemental briefing on May 17, 2021 (Dkt. No. 27),

 3   including the reason for any dismissals.

 4           The Joint Status Report shall not exceed ten (10) pages, inclusive of any addenda, and

 5   shall be filed within fourteen (14) days of this Order. The Court may request additional briefing

 6   or set a telephonic status conference following receipt of the Joint Status Report.

 7           Additionally, Plaintiffs are DIRECTED to economize docket entries in all future filings by

 8   simply stating “All Plaintiffs” or, if filing on behalf of a subset of plaintiffs, “Certain Plaintiffs.”

 9   Where a filing applies to only certain plaintiffs, Counsel can indicate which plaintiffs the filing

10   applies to in the first sentence of the document.

11           IT IS SO ORDERED.

12           Dated this 11th day of February 2022.

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14                                                           A
                                                             Tana Lin
15                                                           United States District Judge

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     ORDER REQUIRING JOINT STATUS REPORT AND DIRECTING CLEAN-UP OF FUTURE DOCKET
     ENTRIES - 2
